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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


        ROOFERS’ PENSION FUND, Individually
        and On Behalf of All Others Similarly
        Situated,

                          Plaintiffs,           Civil Action No. 2:16-cv-2805-MCA-
                                                LDW
                    v.

        PERRIGO COMPANY, PLC, et al.,

                          Defendants.




      MEMORANDUM OF LAW IN SUPPORT OF UNCONTESTED MOTION OF THE
                     UNITED STATES TO INTERVENE
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           The United States of America, through the Antitrust Division of the United States

   Department of Justice (“the Antitrust Division” or “the United States”), submits this

   memorandum of law in support of its uncontested motion to intervene in the above-captioned

   civil matter. The United States conferred with counsel for Lead Plaintiff and Defendants by

   telephone and email and these parties consent to the relief sought in this motion. The United

   States may intervene as a matter of right or, in the alternative, meets the criteria for permissive

   intervention because this litigation shares common questions of law and fact with an ongoing

   federal criminal investigation. Continued litigation of this action is likely to result in the

   disclosure of information that will harm the ongoing criminal antitrust investigation. For these

   reasons, the United States moves the Court to intervene in this matter.


                                       STATEMENT OF FACTS

           Plaintiffs filed a federal securities class action on behalf of purchasers of the common

   stock of Perrigo Co., plc (“Perrigo”) between April 21, 2015, and May 3, 2017, and owners of

   Perrigo common stock as of November 13, 2016, alleging, among other claims,

   misrepresentations and omissions that Defendants made to investors regarding alleged collusive

   pricing in Perrigo’s generic drug division. On July 25, 2019, the United States learned that Lead

   Plaintiff 1 recently began to issue notices of deposition to current and former Perrigo employees

   as well as a notice of a Rule 30(b)(6) deposition on domestic generic drug pricing. The United

   States further learned on August 15, 2019, that Lead Plaintiff plan to issue additional notices of



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    The United States understands that there are also several related individual actions brought by
   plaintiffs who have opted out of the class lawsuit. The present Motion seeks to intervene in the
   above-captioned matter, which may not include these individual lawsuits. To the extent this
   Motion is granted, and the United States seeks additional relief from the Court, the United States
   would intend that any relief granted would also be applicable to the individual plaintiffs. The
   United States will seek input from the Court on the best way to structure any proposed Order.
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   depositions for current and former Perrigo employees with roles relating to domestic generic

   drug pricing, sales, and marketing.


                                              ARGUMENT

           The United States’ criminal investigation into antitrust violations in the generic

   pharmaceutical industry presents circumstances that warrant intervention. The United States’

   intervention in this matter is appropriate under either Rule 24(a) or 24(b). SEC v. Chestman, 861

   F.2d 49, 50 (2d Cir. 1988).

      A.      The United States is Entitled to Intervene as a Matter of Right
           Under Federal Rule of Civil Procedure 24(a)(2), an applicant can intervene as a matter of

   right where: “(1) the application for intervention is timely; (2) the applicant has a sufficient

   interest in the litigation; (3) the interest may be affected or impaired, as a practical matter by the

   disposition of the action; and (4) the interest is not adequately represented by an existing party in

   the litigation.” United States v. Terr. of the V.I., 748 F.3d 514, 519 (3d Cir. 2014) (quoting

   Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987)). “Rule 24(a) is to be liberally construed in

   favor of intervention.” NLRB v. Frazier, 144 F.R.D. 650, 655 (D.N.J. 1992) (citations omitted).

   The United States meets each of these standards for intervention in this civil action.

           First, the United States’ motion to intervene is timely. A court considers the totality of the

   circumstances when assessing the timeliness of a motion to intervene, including such factors as

   “(1) the stage of the proceeding; (2) the prejudice that delay may cause the parties; and (3) the

   reason for the delay.” In re Cmty. Bank of N. Virginia, 418 F.3d 277, 314 (3d Cir. 2005) (citing

   Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 369 (3d Cir.

   1995)). Here, nearly all of the depositions of current and former Perrigo employees related to

   generic drug pricing, sales, and marketing have not yet been scheduled, or in certain instances

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   even noticed. The United States first learned that Lead Plaintiff sought to depose individuals

   with domestic generics pricing, sales, and marketing responsibilities only weeks ago, on July 25,

   2019 and August 15, 2019. The United States seeks to intervene before any of these depositions

   have taken place. As such, the United States has exhibited no delay.

          Second, the United States has a “significantly protectable” interest supporting a right of

   intervention. See In re Chocolate Confectionary Antitrust Litig., No. 1:08-mdl-1935, 2008 WL

   4960194, at *1 (M.D. Pa. Nov. 18, 2008) (quoting Mountain Top Condo Ass’n, 72 F.3d at 366).

   “It is well established that the United States [] may intervene in a federal civil action … when

   there is a parallel criminal proceeding, which is anticipated or already underway that involves

   common questions of law or fact.” SEC v. Mersky, No. Civ. A 93-5200, 1994 WL 22305, at *1

   (E.D. Pa. Jan. 25, 1994) (quoting SEC v. Downe, No. 92-cv-4092, 1993 WL 22126, at *10

   (S.D.N.Y. Jan 26, 1993)). This civil litigation shares common questions of law and fact with the

   Antitrust Division’s investigation into the generic pharmaceutical industry. 2

          Third, the United States’s interest in ensuring the integrity of its ongoing criminal

   investigation may be affected or impaired by the disposition of this action. A party seeking to

   intervene as a matter of right must establish a “tangible threat to a legally cognizable interest.”

   Mountain Top Condo Ass’n, 72 F.3d at 366 (quoting Harris, 820 F.2d at 601). Courts have found

   that, where the United States has an ongoing criminal investigation, related civil litigation can




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    Indeed, the Antitrust Division has also intervened in other civil litigations where there exist
   common questions of law and fact with the Antitrust Division’s investigation into the generic
   pharmaceutical industry. See Order, In re: Generic Pharm. Pricing Antitrust Litig., No. 16-
   MDL-2724 (E.D. Pa. Jan. 6, 2017), ECF No. 108; Order, Heritage Pharm. Inc., v. Glazer, et al.,
   No. 16-CV-08483 (D.N.J. Dec. 13, 2016), ECF No. 24.
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   pose a risk to the United States’ interest in the confidentiality of that investigation. See, e.g., In re

   Sealed Case, 237 F.3d 657, 663–64 (D.C. Cir. 2001); Mersky, 1994 WL 22305, at *5.

           Finally, no existing party to this civil litigation adequately represents the United States’

   interest in maintaining the integrity of an ongoing criminal investigation. See In re Chocolate

   Confectionary Antitrust Litig., 2008 WL 4960194, at *1 (“[N]one of the parties hereto

   adequately represent the [] government’s [] interest in maintaining the integrity of its criminal

   investigations.”). Only the United States is in a position to explain to the Court why or how

   litigation of this civil action threatens to undermine the ongoing criminal investigation.

           Accordingly, because the United States fulfills all the requirements of Rule 24(a), the

   United States is entitled to intervene as a matter of right.

       B. In the Alternative, the United States Should be Permitted to Intervene as a Matter of
          Discretion
           Even if the Court should find that the United States is not entitled to intervene in this

   action as a matter of right, the Court should exercise its discretion to permit the United States to

   intervene. Federal Rule of Civil Procedure 24 permits a third party to intervene in an action,

   upon timely motion, when the movant “has a claim or defense that shares with the main action a

   common question of law or fact,” FED. R. CIV. P. 24 (b)(1)(B), and the intervention will not

   unduly delay the proceedings or prejudice the original parties. FED. R. CIV. P. 24(b)(3). All

   requirements are met here.

           As discussed above, the United States’ motion is timely and its ongoing criminal antitrust

   investigation shares common questions of law and fact with this civil litigation. Additionally,

   Lead Plaintiff and Defendants do not oppose the United States’ intervention.




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           Courts routinely permit the United States to intervene in actions such as the present case.

   To be sure, “it is well established that the United States Attorney may intervene in a federal civil

   action to seek a stay of discovery when there is a parallel criminal proceeding, which is

   anticipated or already underway that involves common questions of law or fact.” Mersky, 1994

   WL 22305, at *1 (quoting Downe, 1993 WL 22126, at *10). See also, e.g., In re Urethane

   Antitrust Litig., No. 04-MD-1616-JWL, 2010 U.S. Dist. LEXIS 113796, at *48 (D. Kan. Oct. 21,

   2010) (collecting cases); In re Flash Memory Antitrust Litig., No. C 07-0086, 2007 WL

   3119612, at *1 (N.D. Cal. Oct. 23, 2007) (citing cases). Moreover, “Rule 24(b) expands the

   traditional concept of claim or defense insofar as intervention by a governmental officer or

   agency is concerned.” Metro Transp. Co. v. Balboa Ins. Co., 118 F.R.D. 423, 424 (E.D. Pa.

   1987) (citing Nuesse v. Camp, 385 F.2d 694, 705 (D.C. Cir. 1967)). Such intervention should “be

   granted liberally to governmental agencies because they purport to speak for the public interest.”

   Id. (citation omitted); Amalgamated Transp. Union, Local 1729 v. First Group Am. Inc., No.

   2:15-cv-0806, 2016 WL 520989, at *2 (W.D. Pa. 2016) (citations omitted).

           Accordingly, permitting the United States to intervene in this case is well within the

   Court’s discretion.


                                            CONCLUSION

           Because the United States meets the criteria to intervene as a matter of right—or in the

   alternative, as a matter of discretion—the Court should allow the United States to intervene in

   this civil action.




   Dated: August 23, 2019


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                                      Respectfully submitted,

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                                    CERTIFICATE OF SERVICE


           I hereby certify that on August 23, 2019, I caused the foregoing Brief in Support of

    Motion of the United States to Intervene to be filed with the Clerk of Court using the Court’s

    Electronic Document Filing System, which served copies on all interested parties registered for

    electronic filing, and is available for viewing and downloading from the ECF system.



                                                  /s/ Elizabeth A. Gudis
                                                 Elizabeth A. Gudis
                                                 Counsel for Intervenor-United States




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                  DESIGNATION PURSUANT TO LOCAL CIVIL RULE 101.1(f)


           Pursuant to Local Civil Rule 101.1(f), the undersigned hereby designates the United

    States Attorney for the District of New Jersey to receive service of all notices or papers in this

    action at the following address:



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